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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     NELSON RAMIREZ,                                    Case No. 21-cv-09955-BLF
                                   8                    Plaintiff,
                                                                                            ORDER GRANTING IN PART AND
                                   9             v.                                         DENYING MOTION TO DISMISS
                                                                                            FIRST AMENDED COMPLAINT
                                  10     HV GLOBAL MANAGEMENT
                                         CORPORATION, et al.,                               [Re: ECF No. 21]
                                  11
                                                        Defendants.
                                  12
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                                  13          Plaintiff Nelson Ramirez filed this case against Defendants HV Global Management

                                  14   Corporation and HV Global Group, Inc., alleging violations of California Labor Code and

                                  15   Business & Professions Code. Now before the Court is Defendants’ motion to dismiss the First

                                  16   Amended Complaint. ECF No. 21 (“MTD”); see also ECF No. 24 (“Reply”). Defendants argue

                                  17   that none of Plaintiffs’ claims is sufficiently pled under Rule 12(b)(6) and that there is no personal

                                  18   jurisdiction over HV Global Group, Inc. under Rule 12(b)(1). Plaintiffs oppose the motion. ECF

                                  19   No. 22 (“Opp.”). The Court previously found this motion suitable for disposition without oral

                                  20   argument and vacated the hearing. ECF No. 41; Civ. L.R. 7-1(b). For the following reasons, the

                                  21   Court GRANTS IN PART and DENIES IN PART the motion to dismiss the First Amended

                                  22   Complaint.

                                  23     I.   BACKGROUND
                                  24          As alleged in the First Amended Complaint, Defendants employed Ramirez as a non-

                                  25   exempt employee from September 2010 to September 2019 and during that time failed to

                                  26   compensate him for hours he worked and missed meal periods and rest breaks. ECF No. 17

                                  27   (“FAC”) ¶¶ 19, 27. Ramirez alleges that he was paid $8.00 per hour from 2010 to 2016 and $10–

                                  28   $12 per hour from approximately 2016 through September 2019. Id. ¶ 20. Ramirez seeks to
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                                   1   represent a class of all current and former hourly-paid and non-exempt employees who worked for

                                   2   Defendants in California in the last four years. Id. ¶ 14. Ramirez brings seven claims under the

                                   3   California Labor Code and one claim under California’s Unfair Competition Law. See id. ¶¶ 51–

                                   4   113.

                                   5    II.   MOTION TO DISMISS – RULE 12(B)(6)
                                   6          A.    Legal Standard
                                   7          “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for failure to state a

                                   8   claim upon which relief can be granted ‘tests the legal sufficiency of a claim.’” Conservation

                                   9   Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) (quoting Navarro v. Block, 250 F.3d

                                  10   729, 732 (9th Cir. 2001)). When determining whether a claim has been stated, the Court accepts

                                  11   as true all well-pled factual allegations and construes them in the light most favorable to the

                                  12   plaintiff. Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011). However, the Court
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                                  13   need not “accept as true allegations that contradict matters properly subject to judicial notice” or

                                  14   “allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

                                  15   inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (internal quotation

                                  16   marks and citations omitted). While a complaint need not contain detailed factual allegations, it

                                  17   “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

                                  18   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

                                  19   550 U.S. 544, 570 (2007)). A claim is facially plausible when it “allows the court to draw the

                                  20   reasonable inference that the defendant is liable for the misconduct alleged.” Id. On a motion to

                                  21   dismiss, the Court’s review is limited to the face of the complaint and matters judicially

                                  22   noticeable. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986); N. Star Int’l v.

                                  23   Ariz. Corp. Comm’n, 720 F.2d 578, 581 (9th Cir. 1983).

                                  24          B.    Analysis
                                  25          Defendants urge the Court to dismiss all of Ramirez’s claims under Rule 12(b)(6). Each of

                                  26   their arguments falls in the same vein: that there are no factual allegations that support Ramirez’s

                                  27   claims that Defendants violated California labor law. See, e.g., MTD at 13 (as to meal period

                                  28   claims, Ramirez does not allege “anything about how these alleged meal break violations
                                                                                           2
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                                   1   happened, when and where they happened, who was responsible, or how often they occurred”); id.

                                   2   at 16–17 (as to unpaid wages and overtime claims, Ramirez “fails to allege that, during any actual

                                   3   identified work week, he and/or any putative class members were entitled to either minimum wage

                                   4   or overtime compensation, but did not receive it”). In response to these arguments, in addition to

                                   5   defending the allegations supporting each cause of action, Ramirez claims that Defendants are

                                   6   holding him to an improperly high pleading standard because “[t]he standards for ‘plausibility’ are

                                   7   different in the context of wage-and-hour cases than they are for other cases.” Opp. at 5. The

                                   8   Court first considers the applicable pleading standard before analyzing the allegations supporting

                                   9   each cause of action.

                                  10               i.   Pleading Standard for Wage-and-Hour Claims
                                  11          The parties dispute the applicable pleading standard to the wage-and-hour claims in this

                                  12   case. Ramirez asserts that “[t]he standards for ‘plausibility’ are different in the context of wage-
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                                  13   and-hour cases” than for other cases and that all that is necessary to state claims is to “allege that

                                  14   earned wages were denied.” Opp. at 5. Ramirez points to other “so-called ‘skeletal’ wage-and-

                                  15   hour pleadings” allegedly similar to his own that survived motions to dismiss. Id. Defendants

                                  16   argue that multiple courts have rejected Ramirez’s argument that a lower pleading standard applies

                                  17   to wage-and-hour claims, and that the Ninth Circuit’s decision in Landers v. Quality Commc’ns,

                                  18   Inc., 771 F.3d 638 (9th Cir. 2014), establishes what is required. Reply at 7–8.

                                  19          The Court agrees with Defendants. Multiple courts have rejected Ramirez’s assertion that

                                  20   “skeletal” wage-and-hour complaints can survive Rule 12(b)(6) motions. For example, in

                                  21   Ritenour v. Carrington Mortg. Servs. LLC, 228 F. Supp. 3d 1025, 1033 (C.D. Cal. 2017), the court

                                  22   found this exact argument to run headlong into Landers. “Although . . . detailed factual

                                  23   allegations regarding the number of overtime hours worked are not required to state a plausible

                                  24   claim, we do not agree that conclusory allegations that merely recite the statutory language are

                                  25   adequate.” Id. (quoting Landers, 771 F.3d at 644). To allow conclusory allegations to suffice

                                  26   would “run[] afoul of the Supreme Court’s pronouncement in Iqbal that a [p]laintiff’s pleading

                                  27   burden cannot be discharged by ‘[a] pleading that offers labels and conclusions or a formulaic

                                  28   recitation of the elements of a cause of action.’” Landers, 771 F.3d at 645 (quoting Iqbal, 556
                                                                                          3
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                                   1   U.S. at 678).1 Under Landers, a plaintiff “may establish a plausible claim by estimating the length

                                   2   of her average workweek during the applicable period and the average rate at which she was paid,

                                   3   the amount of overtime wages she believes she is owed, or any other facts that will permit the

                                   4   court to find plausibility.” Id. Ramirez’s position that some lower pleading standard applies is

                                   5   thus “inaccurate and unsupported by the case law.” Byrd v. Masonite Corp., 2016 WL 756523, at

                                   6   *4 n.16 (C.D. Cal. Feb. 25, 2016); see also Alvarado v. Amazon, 2022 WL 899850, at *2 (N.D.

                                   7   Cal. Mar. 28, 2022) (dismissing wage-and-hour claims under Landers).

                                   8           And this isn’t the first time Ramirez’s counsel has been admonished by a court for filing a

                                   9   boilerplate complaint. See FEAO v. UFP Riverside, LLC, 2017 WL 2836207, at *10 (C.D. Cal.

                                  10   Jun. 29, 2017) (imposing Rule 11 sanctions). As a blatant example of the boilerplate nature of the

                                  11   operative complaint, the Court notes that Ramirez didn’t even bother to replace the jurisdictional

                                  12   allegations pertaining to “The Superior Court for the County of Monterey,” FAC ¶¶ 2–4, with the
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                                  13   correct allegations regarding federal jurisdiction and venue. Such a correction was required even

                                  14   though a motion to remand was pending under CAFA’s amount-in-controversy requirement.

                                  15              ii.   Ramirez’s Claims
                                  16           The Court now examines each of Ramirez’s eight causes of action. In light of the pleading

                                  17   standard articulated in Landers and applied in numerous cases throughout the Circuit, Ramirez has

                                  18   not adequately pled any of his claims.

                                  19           Claims 1, 4 – Unpaid Wages and Overtime Wages. Ramirez’s first claim is for failure to

                                  20   pay overtime wages in violation of California Labor Code §§ 510, 1198, FAC ¶¶ 51–59; and his

                                  21   fourth claim is for failure to pay minimum wages in violation of California Labor Code §§ 1194,

                                  22   1197, 1197.1. FAC ¶¶ 83–88. Defendants argue that these claims must be dismissed because

                                  23   Ramirez has failed to allege when he worked in excessive of forty hours and was not paid

                                  24   overtime, or when he was not paid minimum wages. See MTD at 16–19. Ramirez argues that his

                                  25   allegations meet the requirements in Landers because he has identified tasks for which he was not

                                  26
                                  27   1
                                         Although Landers considered only federal Fair Labor Standards Act claims, numerous courts
                                  28   have applied Landers to claims brought in federal court under the California Labor Code. See,
                                       e.g., Haralson v. United Airlines, Inc., 224 F. Supp. 3d 928, 942 (N.D. Cal. 2016).
                                                                                         4
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                                   1   paid and alleged that he regularly worked in excess of eight hours per day and forty hours per

                                   2   week. Opp. at 8–10.

                                   3           The Court finds that Ramirez has not adequately pled his claims for unpaid wages and

                                   4   overtime as required by Landers. Landers made quite clear what was required. Absent from the

                                   5   complaint in Landers “was any detail regarding a given workweek when Landers worked in

                                   6   excess of forty hours and was not paid overtime for that given workweek and/or was not paid

                                   7   minimum wages.” 771 F.3d at 646. The Ninth Circuit held that “[a]lthough plaintiffs in these

                                   8   types of cases cannot be expected to allege ‘with mathematical precision’ the amount of overtime

                                   9   compensation owed by the employer, they should be able to allege facts demonstrating there was

                                  10   at least one workweek in which they worked in excess of forty hours and were not paid overtime

                                  11   wages.” Id. (quoting Dejesus v. H.F. Mgmt. Servs., LLC, 726 F.3d 85, 89 (2d Cir. 2013)).

                                  12   Landers’ allegations also failed to provide “sufficient detail about the length and frequency of [his]
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                                  13   unpaid work to support a reasonable inference that [he] worked more than forty hours in a given

                                  14   week.” Id. (citing Nakahata v. New York–Presbyterian Healthcare Sys., Inc., 723 F.3d 192 (2d

                                  15   Cir. 2013)).

                                  16           Ramirez has failed to satisfy these standards. The First Amended Complaint is devoid of

                                  17   any factual allegations substantiating Ramirez’s claims. Ramirez does not allege a “given

                                  18   workweek” when he worked in excess of forty hours and wasn’t paid overtime, or was not paid

                                  19   minimum wages. Landers, 771 F.3d at 646. Nor does Ramirez provide any detail about “the

                                  20   length and frequency” of that unpaid work. Id. The Court acknowledges that Ramirez has alleged

                                  21   his pay rate range throughout the covered period, and that Ramirez says that he worked additional

                                  22   hours “providing customer service” to clients. See FAC ¶¶ 20, 28. But providing “customer

                                  23   service” to clients is a far too generic allegation (1) to establish that there was at least one

                                  24   workweek in which Ramirez was not compensated for regular- or overtime or (2) to provide

                                  25   sufficient detail about the length and frequency of unpaid work. See Bush v. Vaco, 2018 WL

                                  26   2047807, at *8–9 (insufficient facts pled to support inference that unpaid work occurred where

                                  27   plaintiff alleged that she “regularly” worked more than statutory requirements).

                                  28           Ramirez’s allegations thus “raise the possibility of undercompensation,” but “a possibility
                                                                                           5
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                                   1   is not the same as plausibility.” Landers, 771 F.3d at 646 (quoting Nakahata, 723 F.3d at 201).

                                   2   To be clear, the Court is not requiring Ramirez to identify a calendar week or particular instance

                                   3   where he was denied wages, but only to plead specific facts that raise a plausible inference that

                                   4   such an instance actually occurred. He has not done that in the operative pleading. These two

                                   5   claims are thus DISMISSED WITH LEAVE TO AMEND.

                                   6          Claims 2–3 – Meal and Rest Breaks. Ramirez’s second and third claims are for failure to

                                   7   provide meal and rest breaks in violation of California Labor Code §§ 226.7, 512(a). FAC ¶¶ 60–

                                   8   82. Defendants argue that these claims must be dismissed because the allegations merely parrot

                                   9   the statutory language and do not state at least one occasion on which Ramirez or putative class

                                  10   members were prevented from taking a meal or rest break. MTD at 12–16. Ramirez says that he

                                  11   has pointed to a specific example and that nothing in the California Labor Code requires him to

                                  12   plead “every violation” that Defendants committed. Opp. at 6–8.
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                                  13          The Court agrees with Defendants that these claims must be dismissed as pled. To state a

                                  14   claim for failure to provide required rest or meal periods, Ramirez must at least allege either a

                                  15   specific corporate policy prohibiting those breaks or a specific instance or instances in which he

                                  16   was denied a required break. Alvarado, 2022 WL 899850, at *2; see also Wright v. Frontier

                                  17   Mgmt. LLC, 2021 WL 2210739, at *2–3 (E.D. Cal. Jun. 1, 2021) (no allegation of specific

                                  18   instance in which defendants interfered with meal or rest breaks); Guerrero v. Halliburton Energy

                                  19   Servs., 2016 WL 6494296, at *6 (E.D. Cal. Nov. 2, 2016) (same). Ramirez has failed to do so

                                  20   here. Ramirez points to only one purported example in each claim:

                                  21                  By way of example, Plaintiff was required to serve food and
                                                      beverages at events that lasted at least six hours. Often times when
                                  22                  Plaintiff was working these events, he was not authorized or permitted
                                                      to take a full, uninterrupted, and timely thirty (30) minute meal break.
                                  23

                                  24   FAC ¶ 67; see also id. ¶ 78 (same, except Ramirez allegedly not allowed to take “a full,

                                  25   uninterrupted, timely and off-duty rest period”). But this allegation still does not allege a “specific

                                  26   instance or instances” in which Ramirez was denied a rest or meal break. The example Ramirez

                                  27   provides is not “specific”—instead, it says that he generally was required to serve food and

                                  28   beverages at six-hour events. But there is no allegation of any specific event at which he worked
                                                                                         6
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                                   1   for longer than six hours and was denied a rest or meal break. Alleging generally that Ramirez

                                   2   worked “events that lasted at least six hours” does not put Defendants on notice of any specific

                                   3   instance of this happening. Neither has Ramirez alleged that this “example” is representative of a

                                   4   corporate policy of Defendants that more generally denied or interfered with meal or rest breaks.

                                   5   The case that Ramirez cites that denied a motion to dismiss a complaint with similar allegations

                                   6   predates Landers and is thus not instructive on what is required to state claims for meal or rest

                                   7   break violations. See Opp. at 7–8 (citing Ambriz v. Coca Cola Co., 2013 U.S. Dist. LEXIS

                                   8   158513 (N.D. Cal. Nov. 5, 2013)). Ramirez also says that the California Labor Code does not

                                   9   require him to state these details about his claim, Opp. at 7, but these requirements are imposed by

                                  10   federal pleading standards as articulated in Landers, not by the California Labor Code.

                                  11          These two claims are thus DISMISSED WITH LEAVE TO AMEND.

                                  12          Claims 5–6 – Wages for Terminated/Resigned Employees and Wage Statements.
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                                  13   Ramirez’s fifth claim is for failure to pay wages for terminated or resigned employees in violation

                                  14   of California Labor Code §§ 201, 202, FAC ¶¶ 89–96, and his sixth claim is for failure to provide

                                  15   accurate wage statements in violation of California Labor Code §§ 226(a), FAC ¶¶ 97–101. These

                                  16   claims are derivative of the wage, meal period, and rest break claims. See Bush, 2018 WL

                                  17   2047807, at *10 (dismissing wage statement and terminated/resigned employee wage claims

                                  18   where predicate claims of failure to pay regular and overtime wages were not adequately pled);

                                  19   accord Alvarado, 2022 WL 899850, at *2. Because the Court has determined that the predicate

                                  20   claims are not adequately pled, these claims are also DISMISSED WITH LEAVE TO AMEND.

                                  21   The Court need not consider Defendants’ other arguments for dismissing these claims.

                                  22          Claim 7 – Reimbursements. Ramirez’s seventh claim is for failure to reimburse business

                                  23   expenses in violation of California Labor Code §§ 2800, 2802. FAC ¶¶ 102–106. Defendants

                                  24   argue that this claim must be dismissed because Ramirez has failed to allege (1) how any

                                  25   unreimbursed cell phone use was for business matters or (2) how his clothing purchases amounted

                                  26   to a special “uniform” for which he should have been reimbursed. MTD at 22–23. Ramirez

                                  27   defends the allegations in his First Amended Complaint. Opp. at 12–13.

                                  28          The Court finds that the claim is not adequately pled. To state a claim for failure to
                                                                                         7
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                                   1   reimburse business expenses, a plaintiff must allege a specific instance in which he was not

                                   2   reimbursed for expenses that were within his job duties. Alvarado, 2022 WL 899850, at *2 (citing

                                   3   Reed v. AutoNation, Inc., 2017 WL 6940519, at *6 (C.D. Cal. Apr. 20, 2017)). Ramirez alleges

                                   4   that he incurred costs for “the use of personal phones for business-related purposes” and “to

                                   5   purchase clothing in order to comply with Defendants’ dress code.” FAC ¶ 104. Neither

                                   6   allegation is sufficient. As to the use of a personal phone, Ramirez has failed to allege any

                                   7   supporting details about his phone use, such as “whether [he] incurred any actual expenses related

                                   8   to the use of [his] cell phone[]; whether [he] requested Defendants reimburse [him] for those

                                   9   expenses; or that Defendants refused to tender any requested reimbursements.” Wright, 2021 WL

                                  10   2210739, at *4. And as to his claim related to the purchase of clothing, Ramirez fails to allege

                                  11   facts supporting the inference that the clothing was more than basic wardrobe items to which he

                                  12   would not be entitled to reimbursement. See, e.g., Townley v. BJ’s Restaurants, Inc., 37 Cal. App.
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                                  13   5th 179, 185 (2019) (slip-resistant shoes not a “necessary expenditure” under Section 2802 such

                                  14   that employee needed to be reimbursed for cost because they were generally usable in the industry

                                  15   and thus not a “uniform”).

                                  16           Ramirez’s claim for failure to reimburse business expenses is thus DISMISSED WITH

                                  17   LEAVE TO AMEND.

                                  18           Claim 8 – UCL. Ramirez’s final claim is for violation of the unlawful prong2 of

                                  19   California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq. FAC ¶¶ 107–113.

                                  20   A UCL unlawful claim fails where no predicate violation of the California Labor Code is plausibly

                                  21   pled. See Yang v. Francesca’s Collections, Inc., 2018 WL 984637, at *8 (N.D. Cal. Feb. 20, 2018

                                  22   (dismissing UCL unlawful claim as derivate of other failed claims for Labor Code violations);

                                  23   accord Alvarado, 2022 WL 899850, at *2. Because the Court has dismissed all of Ramirez’s

                                  24   California Labor Code claims, the UCL claim must also be DISMISSED WITH LEAVE TO

                                  25

                                  26
                                       2
                                         Ramirez does in passing characterize Defendants’ conduct as “unfair” in his UCL claim. See
                                       FAC ¶ 108 (Defendants’ conduct is “unfair, unlawful and harmful” to him and the class). The
                                  27   remainder of the UCL claim makes clear that it is brought under the unlawful prong only. See,
                                       e.g., id. ¶ 110 (listing violations of law and stating that a violation of the UCL “may be predicated
                                  28   on the violation of any state or federal law”). Ramirez does not contend in opposition to the
                                       motion to dismiss that he is attempting to state a claim under the “unfair” prong of the UCL.
                                                                                            8
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                                   1   AMEND.

                                   2              iii.   Joint Employers
                                   3          Defendants also move to dismiss Defendant HV Global Group, Inc. from the case because

                                   4   the First Amended Complaint fails to allege facts to support Ramirez’s claim that both Defendants

                                   5   are his joint employers. MTD at 26; Reply at 16–18. Ramirez says that he has adequately alleged

                                   6   that the Defendants are joint employers. Opp. at 14–16.

                                   7          The Court finds that the First Amended Complaint does not adequately distinguish

                                   8   between the two Defendants. Courts dismiss complaints that make “undifferentiated allegations”

                                   9   against multiple defendants because those allegations “fail to individually describe the amount of

                                  10   control exerted by each alleged joint employer.” Holtegaard v. Howroyd-Wright Emp. Agency,

                                  11   Inc., 2020 WL 6051328, at *3 (C.D. Cal. Aug. 11, 2020); see also Manukyan v. Cach, LLC, 2012

                                  12   WL 6199938, at *3 (C.D. Cal. Dec. 11, 2012). That is the case with the First Amended Complaint
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                                  13   here. Other than individually naming the Defendants in separate paragraphs in the “Parties”

                                  14   section of the First Amended Complaint, see FAC ¶¶ 6–9, the First Amended Complaint refers to

                                  15   HV Global Management Corporation and HV Global Group, Inc. collectively as “Defendants.”

                                  16   Id. ¶ 11. This is not sufficient to state specific facts as to “each alleged joint employer.”

                                  17   Holtegaard, 2020 WL 6051328, at *3. The allegations to which Ramirez points in opposition

                                  18   simply refer to the “Defendants” and thus do not differentiate between either entity. See Opp. at

                                  19   15–16. In an amended complaint, Ramirez must either dismiss one of the Defendants or provide

                                  20   sufficient allegations to individually describe the control exerted by each Defendant.

                                  21              iv.    Class Member Allegations
                                  22          Defendants also argue that the Court should dismiss Ramirez’s class allegations because

                                  23   Ramirez has failed to allege sufficient facts regarding any putative class members. See MTD at

                                  24   14–15; Reply at 18–19. Because the Court has found that the none of the claims in the First

                                  25   Amended Complaint is adequately pled, the Court need not consider whether the claims are

                                  26   adequately pled as to putative class members. In amending his complaint, however, Ramirez

                                  27   should consider Defendants’ arguments regarding the plausibility of his allegations that the

                                  28   putative class members had similar work experiences to those that he alleges he encountered.
                                                                                          9
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                                   1               v.   Leave to Amend

                                   2          Defendants urge the Court to deny leave to amend because Ramirez has already amended

                                   3   his complaint. See MTD at 27. Ramirez, however, amended as of right in response to

                                   4   Defendants’ original motion to dismiss, so this is the first time that Ramirez has received the

                                   5   Court’s guidance as to the sufficiency of his complaint. Because amendment would not be futile,

                                   6   the dismissal of the claims in the First Amended Complaint is with leave to amend.

                                   7   III.   MOTION TO DISMISS – RULE 12(B)(2)
                                   8          A.    Legal Standard
                                   9          “Federal courts ordinarily follow state law in determining the bounds of their jurisdiction

                                  10   over persons.” Walden v. Fiore, 571 U.S. 277, 283 (2014) (quoting Daimler AG v. Bauman, 571

                                  11   U.S. 117, 125 (2014)). California’s long-arm statute is coextensive with federal due process

                                  12   requirements. See Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800–01 (9th Cir.
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                                  13   2004). “Although a nonresident’s physical presence within the territorial jurisdiction of the court

                                  14   is not required, the nonresident generally must have ‘certain minimum contacts . . . such that the

                                  15   maintenance of the suit does not offend traditional notions of fair play and substantial justice.’”

                                  16   Walden, 571 U.S. at 283 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

                                  17          When a defendant raises a challenge to personal jurisdiction, the plaintiff bears the burden

                                  18   of establishing that jurisdiction is proper. See Ranza v. Nike, Inc., 793 F.3d 1059, 1068 (9th Cir.

                                  19   2015). “Where, as here, the defendant’s motion is based on written materials rather than an

                                  20   evidentiary hearing, the plaintiff need only make a prima facie showing of jurisdictional facts to

                                  21   withstand the motion to dismiss.” Id. “[T]he plaintiff cannot simply rest on the bare allegations of

                                  22   its complaint,” but the uncontroverted allegations in the complaint must be accepted as true.

                                  23   Schwarzenegger, 374 F.3d at 800 (quotation marks and citation omitted). Factual disputes created

                                  24   by conflicting affidavits must be resolved in the plaintiff’s favor. Id.

                                  25          Personal jurisdiction may be either general or specific. General personal jurisdiction exists

                                  26   when the defendant’s contacts “are so continuous and systematic as to render [it] essentially at

                                  27   home in the forum State.” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (quotation marks

                                  28   and citation omitted). Specific personal jurisdiction exists when the defendant’s contacts with the
                                                                                         10
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                                   1   forum state are more limited but the plaintiff’s claims arise out of or relate to those contacts. Id. at

                                   2   127–28.

                                   3          B.       Analysis
                                   4          Defendants raise the personal jurisdiction issue in a footnote in their motion. See MTD at

                                   5   26 n.2. While Defendants are correct that a plaintiff bears the burden of demonstrating

                                   6   jurisdiction over a defendant after defendant moves to dismiss for lack of personal jurisdiction, see

                                   7   Pebble Beach Co. v. Caddy, 453 F.3d 1151 (9th Cir. 2006), the Court declines to reach this issue.

                                   8   “Arguments raised only in footnotes, or only on reply, are generally deemed waived and need not

                                   9   be considered.” Holley v. Gilead Scis., Inc., 379 F. Supp. 3d 809, 834 (N.D. Cal. 2019) (quoting

                                  10   Estate of Saunders v. Comm’r, 745 F.3d 953, 962 n.8 (9th Cir. 2014)). The motion to dismiss for

                                  11   lack of personal jurisdiction is thus DENIED. Because the Court does not consider the personal

                                  12   jurisdiction issue, Ramirez’s corresponding request for judicial notice is DENIED AS MOOT.
Northern District of California
 United States District Court




                                  13   This ruling is made without prejudice to Defendants reasserting the argument of lack of personal

                                  14   jurisdiction in the event Ramirez files a Second Amended Complaint.

                                  15   IV.    ORDER
                                  16          For the foregoing reasons, IT IS HEREBY ORDERED that:

                                  17               •    Defendants’ motion to dismiss the first and fourth claims for failure to pay

                                  18                    minimum wage and overtime wages is GRANTED WITH LEAVE TO AMEND;

                                  19               •    Defendants’ motion to dismiss the second and third claims for meal and rest break

                                  20                    violations is GRANTED WITH LEAVE TO AMEND;

                                  21               •    Defendants’ motion to dismiss the fifth and six claims for wage statement

                                  22                    violations and failure to pay wages for terminated or resigned employees is

                                  23                    GRANTED WITH LEAVE TO AMEND;

                                  24               •    Defendants’ motion to dismiss the seventh claim for failure to pay reimbursements

                                  25                    is GRANTED WITH LEAVE TO AMEND;

                                  26               •    Defendants’ motion to dismiss the eighth claim for violation of the unlawful prong

                                  27                    of the UCL is GRANTED WITH LEAVE TO AMEND;

                                  28               •    Defendants’ motion to dismiss for failure to allege facts to establish that
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                                   1                     Defendants are joint employers is GRANTED;

                                   2              •      Defendants’ motion to dismiss the class allegations is DENIED WITHOUT

                                   3                     PREJUDICE; and

                                   4              •      Defendants’ motion to dismiss HVGG for lack of personal jurisdiction is DENIED

                                   5                     WITHOUT PREJUDICE.

                                   6   Ramirez SHALL file an amended complaint no later than 30 days following this Order. Failure

                                   7   to meet the deadline to file an amended complaint or failure to cure the deficiencies identified in

                                   8   this Order will result in a dismissal of Ramirez’s claims with prejudice. Leave to amend is limited

                                   9   to the defects addressed in this Order. Ramirez may not add new claims or parties absent express

                                  10   leave of Court.

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                                  12   Dated: June 14, 2022
Northern District of California
 United States District Court




                                  13                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  14                                                    United States District Judge
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